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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 UNITED STATES OF AMERICA,                      §
                                                §
 V.                                             §           CASE NO. 3:18-CR-638-S
                                                §
 TERRANCE LUKE (01)                             §

             FINDINGS, CONCLUSIONS, AND RECOMMENDATION OF THE
                       UNITED STATES MAGISTRATE JUDGE

       Pursuant to 28 U.S.C. § 636(b) and the referral of the District Judge, Doc. 140, before the

Court is Defendant’s Motion to Withdraw Guilty Plea, Doc. 133. For the reasons stated here,

Defendant’s motion should be DENIED.

                                       I. BACKGROUND

       By an Indictment filed December 18, 2018, Defendant Terrance Luke (“Defendant

Luke”) is charged with Conspiracy to Commit Sex Trafficking by Force, Fraud, and Coercion, in

violation of 18 U.S.C. § 1594 (Count One) and Sex Trafficking by Force, Fraud, and Coercion,

in violation of 18 U.S.C. § 1591(a)&(b)(1) (Counts Two and Three). Doc. 21 at 1-5. On

February 27, 2020, Defendant Luke, with the assistance of appointed counsel, Assistant Federal

Public Defender Sherylynn Kime-Goodwin (“Attorney Kime-Goodwin”), appeared before

United States Magistrate Judge Rebecca Rutherford and pled guilty to Count Three of the

Indictment pursuant to a Plea Agreement that, inter alia, reduced his maximum imprisonment

exposure from life to the statutory minimum of 15 years. Doc. 60 at 3 (Plea Agreement); Doc.

73 (Report and Recommendation); Doc. 128 (Transcript of Rearraignment Hearing). No

objections were filed to the Magistrate Judge’s Report recommending that the District Judge

accept the guilty plea, and on December 22, 2020, District Judge Karen Gren Scholer accepted
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the Report and Recommendation, accepted Defendant Luke’s guilty plea, and adjudged him

guilty of Sex Trafficking by Force, Fraud, and Coercion, as alleged in Count Three of the

Indictment. Doc. 77.

       On April 6, 2020, Attorney Kime-Goodwin moved to withdraw as counsel due to an

apparent conflict of interest, explaining:

       Counsel understands that Mr. Luke is now representing that he wishes to withdraw
       his guilty plea. Mr. Luke is also aware that the deadline for objecting to the
       Magistrate Judge’s recommendation has passed. Mr. Luke’s comments to Counsel
       make it clear that Mr. Luke is attempting to argue that he tried to contact Counsel
       and in fact told Counsel at some point during his guilty plea hearing on February
       27, 2020, that he did not wish to plead guilty. Mr. Luke’s recollections are not the
       same as Counsel’s recollections.

Doc. 83 at 3. On May 13, 2020, the motion to withdraw was granted, Doc. 89, and Attorney

Kambira Jones Morgan (“Attorney Morgan”) was substituted as appointed counsel for Defendant

Luke, Doc. 90. In the interim, on April 30, 2020, the Presentence Report (“PSR”) was filed.

Doc. 87-1. Attorney Morgan filed serial “Joint” motions for continuance of the sentencing

hearing and PSR objection periods on June 23, 2020, Doc. 95 (citing her recent entry in the

case), and October 23, 2021, Doc. 99 (citing counsel’s health issues). Each motion was granted.

Doc. 96; Doc. 100.

       Ultimately, on February 9, 2021, Defendant Luke’s current counsel, Tim Menchu

(“Attorney Menchu”), was substituted as counsel of record. Doc. 109; Doc. 110. The instant

Motion to Withdraw Guilty Plea was filed June 21, 2021.

       An evidentiary hearing was held on August 13, 2021, at which Defendant Luke appeared

in person and through counsel, Attorney Menchu, and the Government appeared by and through

Assistant United States Attorney Nicole Dana. Doc. 152. After considering the pleadings,

applicable law, evidentiary proffers, and arguments of counsel, the Court finds that Defendant

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Luke’s claims (1) of his actual innocence and (2) that his guilty plea was not knowing and

voluntary lack merit. As such, Defendant Luke has failed to meet his burden to justify the

withdrawal of his guilty plea.

                                      II. APPLICABLE LAW

        “[I]t is well settled that there is no absolute right to withdraw a guilty plea before the

imposition of sentence. Instead, the right to do so is within the sound discretion of the trial court

which will be reversed by an appellate court only for an abuse of that discretion.” United States

v. Rasmussen, 642 F.2d 165, 167 (5th Cir. 1981) (citations omitted). Indeed, a district court may

permit a defendant to withdraw his guilty plea prior to sentencing for “any reason the granting of

the privilege seems fair and just.’” United States v. Carr, 740 F.2d 339, 343 (5th Cir. 1984)

(cited and quoted cases omitted). In determining whether to permit a defendant’s withdrawal of

his guilty plea under this standard, a district court should consider seven factors: (1) whether the

defendant has asserted his innocence; (2) whether withdrawal would prejudice the Government;

(3) whether the defendant has delayed in filing his withdrawal motion; (4) whether withdrawal

would substantially inconvenience the court; (5) whether close assistance of counsel was

available; (6) whether the original plea was knowing and voluntary; and (7) whether withdrawal

would waste judicial resources. Id. at 343-44. These factors are considered under the totality of

the circumstances, and it is the defendant’s burden to establish that withdrawal of his guilty plea

is justified. Id. at 344.

                                              III. ANALYSIS

    A. Assertion of Actual Innocence

        With respect to the first factor, whether the defendant has asserted his innocence,

Defendant Luke avers such in his motion. See Doc. 133 at 2 (“In this case, the defendant is

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asserting his innocence.”). However, Defendant Luke offers no evidence that supports his

contention.

        At the evidentiary hearing, Defendant Luke offered copies of email exchanges between

himself and his then attorney for in camera review. The exchanges can be summarized as

follows:

              •   On January 22, 2020, Defendant Luke emailed Attorney Kime-Goodwin
                  discussing the impending trial and evidence against him and concluded, “I
                  want you to fight for me like you believe me im not interested in taking a
                  plea I want to prove my innoce im not going to be a government snitch just
                  so that I can help them in trapp other people”1 (errors in original).

              •   Attorney Kime-Goodwin replied on January 30, 2020, stating in pertinent
                  part that she planned to visit Defendant Luke to discuss a new plea offer
                  from the Government for the mandatory minimum sentence of 15 years’
                  imprisonment with no requirement of cooperation.

              •   Defendant Luke sent an email to Attorney Kime-Goodwin on February 4,
                  2020—after he had signed the plea papers but before the rearraignment
                  hearing was scheduled or held—stating, “DO NOT SUMMIT [sic] THAT
                  PLEA PLEASE GIVE ME SOME TIME TO THINK THANK YOU
                  TERRENCE LUKE.”

        The Court notes that in the January 22nd email, sent before Defendant Luke signed the

Plea Agreement, Doc. 60 at 7-8, and Factual Resume, Doc. 59 at 4, on February 4, 2020, he

clearly only mentions wanting “to prove [his] innocence” in the context of rejecting the

Government’s offer of cooperation and preparing instead for his impending trial. Further, his

February 4th email only requests more time for contemplation before the plea papers are filed.

Defendant Luke offers evidence of no other communication after that in which he expresses that




1
 Although the reason for defense counsel’s request for the Court to do so was unclear, the Court
nevertheless reviewed all copies offered by defense counsel of the email communications
between Attorney Kime-Goodwin and Defendant in camera, without objection from the
Government.
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he had actually changed his mind about pleading guilty after thinking it over. More importantly,

however, any assertion of actual innocence directly contradicts Defendant Luke’s statements at

the February 27, 2020 rearraignment hearing, when he admitted under oath that he had

committed all of the essential elements of the crime, Doc. 128 at 11, and that the stipulated facts

in the Factual Resume supporting his guilty plea were true and correct, Doc. 128 at 11-12.

       In sum, Defendant Luke has fallen pitifully short of establishing his actual innocence.

His assertions are belied by the record. See United States v. Cervantes, 132 F.3d 1106, 1110 (5th

Cir. 1998) (“a defendant ordinarily will not be heard to refute her testimony given at a plea

hearing while under oath”) (citing United States v. Fuller, 769 F.2d 1095, 1099 (5th Cir. 1985));

see also Blackledge v. Allison, 431 U.S. 63, 73-74 (1977) (“Solemn declarations in open court

carry a strong presumption of verity. . . .”); Carr, 740 F.2d at 344 (“[Innocence] claim alone is

far from being sufficient to overturn denial of a withdrawal motion. Otherwise, the mere

assertion of legal innocence would always be a sufficient condition for withdrawal, and

withdrawal would effectively be an automatic right.” (citation omitted)).

       This Carr factor weighs against permitting Defendant Luke to withdraw his guilty plea.

   B. Delay in Filing Motion to Withdraw

       Although Defendant Luke was specifically admonished at the rearraignment hearing that

he had 14 days from the filing of the Magistrate Judge’s report recommending that his guilty plea

be accepted to object, Doc. 128 at 19, no objection was filed. Subsequently, the Report and

Recommendation was accepted, and Defendant Luke was adjudged guilty on March 18, 2020.

Doc. 77. The first evidence of Defendant Luke’s desire to withdraw his guilty plea was Attorney

Kime-Goodwin’s motion to withdraw filed April 6, 2020—six weeks after Defendant Luke’s

guilty plea—and triggered by her dispute of his claim that “he tried to contact [her] and in fact

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told [her] at some point during his guilty plea hearing on February 27, 2020, that he did not wish

to plead guilty.” Doc. 83 at 3. At the August 13, 2021 evidentiary hearing, defense counsel

asserted that, due to the COVID-19 pandemic, Defendant Luke was unable to contact Attorney

Kime-Goodwin regarding his desire to withdraw. Even if true, that does not explain the further

lengthy delay.

        There was no claim made during the evidentiary hearing that Defendant Luke was unable

to contact Attorney Morgan during the nearly nine months she represented him. Yet Attorney

Morgan makes no mention of Defendant Luke’s desire to withdraw his guilty plea in any of her

filings. See Doc. 95; Doc. 99; Doc. 109.2 And it was more than four months after Attorney

Menchu’s appointment as counsel, Doc. 110, and nearly 16 months following the entry of

Defendant Luke’s guilty plea, that the Motion to Withdraw Guilty Plea, Doc. 133, was filed.

        Under the totality of the circumstances, this Carr factor weighs against permitting

Defendant Luke to withdraw his guilty plea.

     C. Close Assistance of Counsel Was Available

        Defendant Luke had the close assistance of counsel both before and at the time of his

guilty plea. At the rearraignment hearing, Defendant Luke confirmed unequivocally that he (1)

had a full opportunity to discuss his case and whether he should plead guilty with his counsel,

that he understood the information and advice provided by his counsel, and was satisfied with

Attorney Kime-Goodwin’s representation, Doc. 128 at 8; and (2) discussed both the Plea

Agreement and Factual Resume with his counsel before signing them, Doc. 128 at 12, 14.



2
 Although there is nothing the Court can glean from Attorney Morgan’s filings regarding her
communications with Defendant during the representation, she specifically mentions speaking
with Defendant in the Certificate of Conference in her Unopposed Motion to Withdraw and
Appoint New Counsel. Doc. 109 at 3.
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Further, the transcript of the hearing does not indicate that Defendant Luke was at all hesitant

during rearraignment or that the hearing was paused so that he could discuss any matter privately

with counsel who stood near throughout.

         This Carr factor also weighs against permitting Defendant Luke to withdraw his guilty

plea.

      D. Guilty Plea Was Knowing and Voluntary

         Despite Defendant Luke’s self-serving and conclusory assertions to the contrary, the

record establishes that his guilty plea was knowing and voluntary. To be constitutionally valid, a

guilty plea must be knowingly, voluntarily, and intelligently made. United States v. Hernandez,

234 F.3d 252, 254 (5th Cir. 2000). In determining the voluntariness of a plea, the court considers

all relevant circumstances, including whether the defendant: (1) had notice of the charges against

him; (2) understood the constitutional protections he was waiving; and (3) had access to

competent counsel. United States v. Shepherd, 880 F.3d 734, 740-41 (5th Cir. 2018); see also

Boykin v. Alabama, 395 U.S. 238, 244 (1969) (finding that to be knowing and intelligent, the

defendant must have “a full understanding of what the plea connotes and of its consequence”).

Here, a review of the Plea Agreement, Doc. 60, the Factual Resume, Doc. 59, and the Transcript

of Rearraignment Hearing, specifically Defendant Luke’s sworn declarations therein, Doc. 128,

establishes that he fully understood the process and consequence of pleading guilty before doing

so.

      Specifically as to Defendant Luke’s suggestion that he did not understand that as a

consequence of his plea he would be required to register under SORNA (Sex Offender

Registration and Notification Act), the exchange at rearraignment regarding this requirement

reveals its lack of merit:

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          ATTORNEY DANA: Your Honor, I apologize. It was an oversight in the
       maximum penalties that I did not also advise the Defendant of the registration
       requirement that is required by his plea of guilty to this count.

           THE COURT: All right.

           ATTORNEY DANA: So I would also notice for him that he is required to
       register under the SORNA Act.

           THE COURT: All right. So that is an additional consequence of pleading guilty
       to the crime that you are charged with.

           Do you understand that additional consequence?

           THE DEFENDANT: Yes, ma’am.

          THE COURT: All right. Does that change how you feel about wanting to enter
       your guilty plea?

           THE DEFENDANT: No, ma’am.

           THE COURT: Are you ready to enter your plea, then?

           THE DEFENDANT: Yes, ma’am.

Doc. 128 at 17-18. Moreover, Defendant Luke was clearly aware of the SORNA registration

requirement and what the acronym stood for well before that point in the rearraignment hearing

because he had signed a very detailed acknowledgement of it in his Plea Agreement weeks

before. Doc. 60 at 7-8. On this record, Defendant Luke’s argument that his guilty plea was not

knowing and voluntarily because there was “no discussion to determine whether [Defendant

Luke] was aware what ‘SORNA’ means and whether he was voluntarily and knowingly

acquiescing to that condition and consequence of his plea,” Doc. 133 at 3, appears disingenuous

and is wholly frivolous.

       Finally, the findings of the presiding Magistrate Judge, who directly addressed Defendant

Luke and had the opportunity to observe his demeanor throughout the rearraignment hearing and

thus was in the best position to judge the veracity of his answers given under oath, should be
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granted great weight. Magistrate Judge Rutherford specifically found that Defendant Luke was

“fully competent and capable of entering an informed plea, and . . . that [his] plea of guilty to

Count Three of the indictment [was] knowing and voluntary.” Doc. 128 at 18.

       Based on the foregoing, this Carr factor weighs also against permitting the withdrawal of

Defendant Luke’s guilty plea.

   E. Permitting Withdrawal Will Prejudice the Government

       As to possible prejudice to the Government, the Court notes that it has been more than

three years since the offenses alleged in the indictment occurred. Such a long lapse in time may

have impacted both the memories and availability of critical witnesses, particularly those of the

alleged victims. As previously stated, Defendant Luke is charged by indictment with one count

of Conspiracy to Commit Sex Trafficking by Force, Fraud and Coercion and two counts of Sex

Trafficking by Force, Fraud and Coercion. Doc. 21 at 1-5. Defendant Luke was arrested, and

the alleged offenses first revealed, in February 2018, when he was purportedly found in a motel

room with an adult female victim who reported that she was being held against her will and

forced into prostitution by Defendant Luke. Doc. 1 at 4-5 (Criminal Complaint). Allegedly,

others were victimized in similar fashion by Defendant Luke and members of his human

trafficking organization. Although Defendant Luke has not been finally convicted of these

offenses, it is important to understand the nature of the allegations to put into perspective the

difficult task of finding the victim-witnesses—who undoubtedly assumed this case was behind

them based on Defendant Luke’s guilty plea some 19 months ago—and notifying them that they

now must testify against Defendant Luke at trial.

       In any event, “the absence of a showing of prejudice to the government, by itself, should

[not] be sufficient to mandate permission to withdraw a plea when, as here, no credible reason is

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proffered.” Carr, 740 F.2d at 345. Thus, the Court has given relatively little weight to this Carr

factor in light of the others discussed here.

       This Carr factor also weighs against permitting Defendant to withdraw his guilty plea.

                                        IV. CONCLUSION

       In light of the fact that the most significant Carr factors weigh against granting

Defendant Luke’s request to withdraw his guilty plea, as detailed herein, any inconvenience to

the Court or waste of judicial resources, or lack thereof, would not alone or in combination

change the inevitable conclusion.

       For all the reasons outlined supra, Defendant’s Motion to Withdraw Guilty Plea, Doc.

133, should be DENIED.

        Failure to file written objections to this Report and Recommendation within

fourteen (14) days from the date of its service shall bar an aggrieved party from attacking

such Report and Recommendation before the assigned United States District Judge. 28

U.S.C. § 636(b)(1)(B).

       SO RECOMMENDED on September 29, 2021.




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